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            1    Daniel Low, SBN 218387
                 dlow@kotchen.com
            2    Daniel Kotchen (pro hac vice)
                 dkotchen@kotchen.com
            3    Lindsey Grunert (pro hac vice)
                 lgrunert@kotchen.com
            4    KOTCHEN & LOW LLP
                 1745 Kalorama Road NW, Suite 101
            5    Washington, DC 20009
                 Telephone: (202) 471-1995
            6    Fax: (202) 280-1128
            7    Attorneys for Plaintiffs
            8
                                         UNITED STATES DISTRICT COURT
            9                           CENTRAL DISTRICT OF CALIFORNIA
                                              WESTERN DIVISION
          10

          11     CHRISTY PALMER, VARTAN                 CASE NO. 17-CV-6848 DMG (PLAx)
                 PIROUMIAN, and EDWARD COX,
          12
                                     Plaintiffs,        REDACTED VERSION OF
          13
                                                        DOCUMENT PROPOSED TO BE
          14           v.                               FILED UNDER SEAL
          15     COGNIZANT TECHNOLOGY                   KOTCHEN DECLARATION IN
                 SOLUTIONS CORPORATION and              SUPPORT OF JOINT STIPULATION
          16
                 COGNIZANT TECHNOLOGY                   REGARDING DISCOVERY
          17     SOLUTIONS U.S. CORPORATION,            DISPUTES
          18                         Defendants.
          19                                            Complaint Filed: September 17, 2018
          20

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            1    Daniel Kotchen deposes and states as follows:
            2          1.     I am an attorney licensed to practice law in the District of Columbia and the
            3    State of Wisconsin. I am a partner with Kotchen & Low LLP, and represent the Plaintiffs
            4    in the above-captioned matter. I am over the age of eighteen and have personal knowledge
            5    of the matters stated herein.
            6          2.     Following the parties’ Rule 26(f) conference, Plaintiffs issued their first sets
            7    of discovery requests to Cognizant on January 14, 2019. Plaintiffs’ First Set of Document
            8    Requests included the following instructions and requests:
            9
                       Unless otherwise noted, the relevant time period of these document requests
          10           is January 1, 2013 through the present (the “relevant time period”)
          11
                       Request No. 6: Documents and ESI relating to complaints or grievances
          12           lodged by, or communications by, applicants and/or current or former
          13           employees of Cognizant in the U.S. concerning discrimination, including the
                       complaints, grievances, or communications themselves, as well as any
          14           materials created during any subsequent internal investigation stemming
          15           therefrom, and any materials filed in any subsequent agency action, litigation,
                       arbitration, or mediation.
          16

          17           Request No. 7: Documents and ESI relating to any federal or state government
                       investigation or inquiry concerning Cognizant’s visas practices, Cognizant’s
          18           hiring practices for positions located in the United States, Cognizant’s
          19           employment practices in the United States, and/or discrimination, including,
                       but not limited to documents provided to or received from the government,
          20           documents reflecting testimony, correspondence regarding the investigation
          21           or inquiry, and fines paid to or settlement with the government.

          22           Request No. 14: For employees located in the U.S. between 2013 and the
          23           present, produce all performance reviews, performance improvement plans,
                       appraisal scores, and any objections or complaints by employees regarding
          24           performance, performance improvement plans, appraisal scores, promotions,
          25           or terminations.
          26
                       3.     Cognizant served its Responses to Plaintiffs’ First Set of Document Requests
          27
                 eight months later (on August 30), which included the following responses to Request
          28
                 Nos. 6 and 7:
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            1
                    RESPONSE TO REQUEST NO. 6: Defendants incorporate their preliminary
            2       statement and general objections as if fully set forth in response to this
            3       Request. Defendants further object to this Request matter on the grounds that
                    it is overbroad and to the extent that it seeks information that is not relevant
            4       to the subject matter of this litigation or seeks information disproportionate to
            5       the needs of the case and of such marginal relevance that its probative value
                    is substantially outweighed by the burden imposed on Cognizant in having to
            6       search for and provide such information. Defendants further object to this
            7       Request on the ground that it seeks information in which individuals have a
                    legitimate expectation or right of privacy or confidentiality under California
            8       or federal law, and any other constitutional, statutory, or common law right of
            9       privacy. Defendants further object to this Request on the ground that it calls
                    for information that is confidential. Defendants further object to this Request
          10        on the ground that it contains no time limitation and therefore seeks
          11        information outside of the statute of limitations period. Defendants object to
                    this Request on the grounds that it is overbroad insofar as it seeks information
          12        relating to complaints made in connection with any decision-makers and is
          13        not limited to the decision-makers relevant to the Named Plaintiffs’ claims.
                    Defendants object to the Request to the extent that it seeks information
          14        protected from disclosure by the attorney-client privilege, attorney work
          15        product doctrine or by confidentiality provisions with third parties.
                    Defendants object to this Request on the ground that it is vague and
          16        ambiguous in its use of the undefined terms “complaints,” “grievances,”
          17        “lodged,” “materials,” and “filed.” Defendants object to the term
                    “discrimination” as vague and ambiguous and overbroad to the extent it is not
          18        limited to race and national origin and thus outside the scope of the claims
          19        alleged in this case.
          20        Subject to and without waiver of any of the foregoing general and specific
          21        objections, Defendants respond as follows: Defendants will meet and confer
                    with Plaintiffs regarding the nature and scope of information they are willing
          22        to produce in response to this Request.
          23
                    RESPONSE TO REQUEST NO. 7: Defendants incorporate their preliminary
          24        statement and general objections as if fully set forth in response to this
          25        Request. Defendants further object to this Request to the extent that it
                    overbroad, unduly burdensome, seeks information that is not relevant to the
          26        claim or defense of any party or seeks information disproportionate to the
          27        needs of the case and of such marginal relevance that its probative value is
                    substantially outweighed by the burden imposed on Cognizant in having to
          28
                    search for and provide such information. Defendants object to the term
                                                      2
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            1       “employment practices” as vague and ambiguous and overbroad to the extent
            2       it encompasses practices beyond those challenged in the Complaint.
                    Defendants object to the term “discrimination” as vague and ambiguous and
            3       overbroad to the extent it is not limited to race and national origin and thus
            4       outside the scope of the allegations in this case. Defendants further object to
                    this Request to the extent it calls for information that is proprietary, trade
            5       secret, or otherwise confidential. Defendants object to the Request to the
            6       extent it seeks information which is protected by the attorney-client privilege,
                    attorney work product doctrine, and/or by confidentiality provisions with third
            7       parties. Defendants further object to this Request on the ground that it contains
            8       no time limitation and therefore seeks information outside of the statute of
                    limitations period.
            9

          10        RESPONSE TO REQUEST NO. 14: Defendants incorporate their
                    preliminary statement and general objections as if fully set forth in response
          11        to this Request. Defendants further object to this Request to the extent that it
          12        seeks information that is not relevant to the subject matter of this litigation or
                    seeks information disproportionate to the needs of the case and of such
          13        marginal relevance that its probative value is substantially outweighed by the
          14        burden imposed on Cognizant in having to search for and provide such
                    information. Defendants further object to this Request on the ground that it
          15        seeks information in which individuals have a legitimate expectation or right
          16        of privacy or confidentiality under California or federal law, and any other
                    constitutional, statutory, or common law right of privacy. Defendants further
          17        object to this Request on the ground that it calls for information that is
          18        proprietary, trade secret, or otherwise confidential. Defendants object to this
                    Request on the ground that it is vague and ambiguous and overly broad in its
          19        use of the terms “objections” or “complaints.”
          20
                    Subject to and without waiver of any of the foregoing general and specific
          21
                    objections, Defendants respond as follows: Subject to entry of a suitable
          22        Protective Order, Defendants will produce non-privileged documents
                    including the Named Plaintiffs’ personnel files, the Named Plaintiffs’ Year
          23
                    End Appraisals, internal correspondence regarding the Named Plaintiffs’
          24        performance, client bid histories for he Named Plaintiffs, and notes or other
                    records from the supervisors of the Named Plaintiffs regarding their
          25
                    interactions with the Named Plaintiffs. To the extent that the aforementioned
          26        files can be located after a reasonably diligent search, they will be produced
                    as they are maintained in the ordinary course of business and to the extent that
          27
                    they cover the applicable statute of limitations period.
          28
                                                      3
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            1          4.     On August 19, 2019, Plaintiffs issued a Rule 30(b)(6) deposition notice,
            2    which consisted of eight topics of inquiry. Topic 8 asked Cognizant to testify to the
            3    following subject matter:
            4          Topic No. 8: The existence, subject matter, and personnel involved in any
            5          other government investigation of Cognizant related to discrimination or its
                       hiring, staffing, employment, or visa practices in the United States.
            6

            7          5.     During an April 29, 2020, meet and confer Plaintiffs agreed to narrow Topic
            8    8 by excluding age- and sex-discrimination investigations, so long as those investigations
            9    did not also concern race or national origin discrimination.
          10           6.     In its initial Response to the 30(b)(6) notice, Cognizant refused to produce a
          11     witness to testify on any of the 30(b)(6) deposition topics.
          12           7.     On October 11, 2019, Cognizant provided the following response to Topic 8
          13     of Plaintiffs’ 30(b)(6) deposition notice:
          14           To the best of Cognizant’s knowledge, and as Cognizant understands this
          15           Topic, Cognizant is unaware of any pattern and practice investigation
                       regarding the issues or claims raised in the instant action other than the EEOC
          16
                       investigation noted above.
          17
                       8.     On November 25, 2019, Cognizant amended its response to Topic 8 as
          18
                 follows:
          19

          20           Cognizant incorporates by reference each and every objection asserted in its
                       written objections to Topic No. 8. Subject to Cognizant’s objections, to the
          21
                       best of Cognizant’s knowledge, and as Cognizant best understands this
          22           question, Cognizant is not aware of any government investigations of hiring
                       practices alleging that Cognizant discriminated in favor of South Asians from
          23
                       the relevant time period, other than the EEOC investigation previously
          24           disclosed.
          25
                       9.     Plaintiffs asked Cognizant on a November 19, 2019 meet and confer call if
          26
                 any investigations exist concerning discrimination involving Cognizant’s use of
          27
                 contractors to staff projects, Cognizant’s visa practices, or other discrimination-related
          28
                                                          4
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            1    investigations (which Plaintiffs believe exist). Cognizant declined to state whether or not
            2    any such investigations exist and otherwise declined to certify that its response to Topic 8
            3    is complete.
            4            10.    In the discovery it has produced to date, Cognizant has redacted information
            5    it deems as “private,” such as names of employees, applicants, projects, and clients, as
            6    well as information it deems “non-responsive,” such as portions of documents that
            7    Cognizant unilaterally deems unrelated to Plaintiffs’ discovery requests. For example, in
            8    its production of applicant data to Plaintiffs, Cognizant redacted names of applicants,
            9    producing only applicant identification numbers. It also redacted the names of its own
          10     employees in other productions. Cognizant also redacted project names and client names
          11     from data and documents as well as information redacted as “non-responsive.”
          12             11.    The employee and applicant names are necessary to identify which
          13     individuals are of South Asian race and Indian national origin, in order to conduct a
          14     statistical discrimination analysis. This requires a surname-matching analysis, in which
          15     Plaintiffs’ expert will use statistically accepted methods to identify common Indian and
          16     South Asian surnames. The expert can then determine the percentage of Cognizant’s
          17     applicants and hires who are of Indian national origin and South Asian race, which is
          18     central to determining whether Cognizant discriminates on the basis of national origin and
          19     race.
          20             12.    Based on information from third parties, Plaintiffs have gleaned the
          21     following information concerning the EEOC’s investigation. The EEOC received
          22     complaints of discrimination from various Cognizant applicants and employees and it
          23     began investigating systemic discrimination at some time prior to March 2018. The EEOC
          24     has issued a Commissioner’s Charge, charging the company with a pattern-or-practice of
          25     race and national origin discrimination against non-South Asian and non-Indian applicants
          26     and employees. In the course of its investigation, the EEOC analyzed employee and
          27     applicant data sets that Cognizant produced, which contained a variety of data, listed
          28     individuals by name, and provided their contact information.
                                                           5
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            5          13.    Cognizant produced its applicant and employee data, with employee names
            6    and contact information, to the EEOC. Cognizant also disclosed its employees’ names in
            7    organizational charts provided to Plaintiffs during custodian negotiations.
            8          14.    Cognizant has not produced a privilege or redaction log.
            9          15.    On January 15, 2020, Cognizant provided to Plaintiffs a list of “issues” and
          10     “sub-issues” used to code complaints in its Convercent system and a list of
          11     “classifications” and “categories” used to code complaints in its Process Unity system.
          12     The Appendix to this declaration identifies the “issues,” “sub-issues,” “classifications,”
          13     and “categories” contained in the Convercent and Process Unity systems; those that are
          14     highlighted in yellow are the coding fields Plaintiffs, on February 6, 2020, requested
          15     Cognizant use to search for complaints responsive to Request No. 6 to Plaintiffs’ First Set
          16     of Document Requests. In all, Plaintiffs requested that complaints coded within 15
          17     Convercent “issues” (and related “sub-issues”) and 12 Process Unity “categories” (and
          18     related “classifications”) be pulled and produced. Cognizant never disclosed how many
          19     complaints exist within each coding option. In a March 13 email, Cognizant outlined its
          20     proposal for searching for and producing complaints from the Convercent and Process
          21     Unity systems. It agreed to produce complaints tagged to the following two “issues” and
          22     three “sub-issues” for Convercent: (1) “Discrimination—race, color, citizenship, or
          23     national origin;” (2) “Harassment—race, age, gender, protected category harassment; and
          24     (3) Discrimination—other”), and to produce complaints which hit on the search terms
          25     “race” or “racial.” For Process Unity, Cognizant’s counsel reviewed the complaints
          26     contained in that system, and agreed to produce “[a]ny incidents that seemed to indicate
          27     harassment or discrimination based on race or national origin. . . [as well as] information
          28     concerning incidents that alleged discrimination or harassment generally, but did not
                                                         6
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            1    indicate anything further about the type of harassment or discrimination.” It noted that
            2    counsel “undertook this approach to Process Unity,” in part, as “the burden associated
            3    with reviewing the summaries was somewhat reduced given the smaller number of overall
            4    complaints.” Email from E. Dooley to L. Grunert, et al. (Mar. 13, 2020). Cognizant
            5    produced a PDF of those incidents (just 15 in total) to Plaintiffs, but not the complaints
            6    themselves.
            7          16.     On December 13, 2019, Cognizant provided Plaintiffs with a list of the data
            8    fields it maintains, and on February 4, 2020, Cognizant provided a document identifying
            9    the meaning of common abbreviations used within the company. On February 24,
          10     Plaintiffs sent Cognizant a letter outlining the categories and fields of data they sought
          11     that are responsive to Plaintiffs’ document requests.
          12           17.     On February 24, 2020, Plaintiffs provided Cognizant with a list of 33
          13     proposed ESI custodians. These custodians were identified after Cognizant supplemented
          14     its response to Topic 2 of Plaintiffs’ Rule 30(b)(6) notice on February 18, 2020, identifying
          15     the supervisor and direct reports of its department heads. On January 17, 2020, Cognizant
          16     identified 18 custodians whose files it wishes to search for documents to support its
          17     defenses. On April 6, 2020, the parties agreed upon a preliminary list of test custodians on
          18     which to run the proposed search terms, and Plaintiffs circulated their list of proposed
          19     search terms on April 9.
          20           18.     Pursuant to L.R. 37-2.1, attached hereto as Exhibit 1 is a true and correct
          21     copy of the Court’s initial Schedule of Pretrial & Trial Dates (ECF No. 75-1). And
          22     attached hereto as Exhibit 2 is a true and correct copy of the Court’s February 19, 2020
          23     Order Approving Joint Stipulation to Extend Case Deadlines (ECF No. 79).
          24

          25     DATED: April 23, 2020                         By: /s/Daniel Kotchen
          26
                                                               Daniel Kotchen

          27

          28
                                                         7
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            1                                          APPENDIX A
            2

            3      CONVERCENT Issue Type                          Sub-Issue Type Selections
                 Abuse                             • Aggressiveness, Taunting, Undue Pressure
            4
                                                   • Emotional/Psychological Abuse
            5                                      • Fighting/Threats or Workplace Violence
                                                   • Power/Authority/Position Misuse
            6                                      • Threats of PIP, Reducing YEA Rating, Moving to
                                                     Different Role
            7
                 Abuse of Power, Authority or      • Aggressiveness, Taunting, Undue Pressure
            8    Control                           • Emotional/Psychological Abuse
                                                   • Favoritism
            9                                      • Fighting/Threats or Workplace Violence
                                                   • Power/Authority/Position Misuse
          10
                                                   • Threats of PIP, Reducing YEA Rating, Moving to
          11                                         Different Role
                 Academic Dishonesty               NONE
          12

          13

          14     Accounting or Audit Related       •   Alleged Embezzlement
          15     Concerns                          •   Altering/Forging Financial Company Data
                                                   •   Altered or Incorrect Audit Data
          16                                       •   Financial Fraud
                                                   •   Potential Money Laundering
          17
                 AUP – Acceptable Use Violations   •   Access Card Misuse
          18                                       •   Data Loss (DLP)
                                                   •   Inappropriate Website
          19                                       •   Other
          20                                       •   Password Sharing
                                                   •   Personal Device Use
          21                                       •   PII or PHI Release
                                                   •   Theft/Misuse Company Assets
          22                                       •   Unauthorized Software/Access
          23     Billing Practices                 •   Alleged Incorrect Billing to Client
                                                   •   Vendor Incorrectly Billing CTS
          24                                       •   Billing Practice Issues
                 Bullying                          •   Aggressiveness, Taunting, Undue Pressure
          25
                                                   •   Hostile Work Environment
          26                                       •   Other
                                                   •   Threats of Reducing YEA Rating, Moving to Different
          27                                           Role
                                                   •   Yelling, Intimidation, Inappropriate Communications
          28
                                                         8
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            1    Code of Ethics Violation         •   Alcohol/Drug Abuse
                                                  •   General Code Violation
            2
                 Communication Issues             NONE
            3

            4

            5
                 Compliance with Laws, Rules,     •   Alleged Antitrust Violation
            6    Regulations                      •   Potential Law Violation
                                                  •   Regulatory Issue
            7                                     •   Rules Non-Compliance
            8                                     •   Trade Non-Compliance
                 Conflict of Interest             •   Board Membership
            9                                     •   Competitor Relationship
                                                  •   Corporate Opportunity
          10                                      •   Financial Investments/Interests
          11                                      •   Outside Employment
                                                  •   Politically Exposed Person Relationship
          12                                      •   Relative/Personal Relationship with CTS Employee
                                                  •   Vendor/Customer/Business Partner Relationship
          13
                 Corruption or Bribery            •   Gifts or Favors Viewed as Bribes
          14                                      •   Illicit Payments
                                                  •   Kickbacks with Customer/Vendor/Business Partner
          15                                      •   Other Potential Corrupt/Bribery Practices
                 Discrimination                   •   Age
          16
                                                  •   Disability or Pregnancy
          17                                      •   Gender
                                                  •   Other
          18                                      •   Race, Color, Citizenship or National Origin
          19                                      •   Religion
                                                  •   Treated Differently in General
          20     Disclosure or Misappropriation   •   Client Data
                 of Confidential Information      •   CTS Company Data
          21
                                                  •   PHI or PII Release
          22                                      •   Other
                 Employee Relations               •   Administrative Leave Placement or Moved to Different
          23                                          Role
                                                  •   Disciplinary Actions, Performance Issues
          24
                                                  •   Manager Relationship, Communication
          25                                          Issues
                                                  •   Other
          26                                      •   Performance Review/YEA Rating, Promotions
                                                  •   Wrongful Termination
          27

          28
                                                         9
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            1    Expense Reporting             • Fake Receipts/Expenses
                                               • Improper Approval Process of Expenses
            2
                                               • Other T&E Policy Violation
            3                                  • Personal/Inappropriate Use of Corporate Credit Card
                 Falsifying Documents          • Altered Hiring/Application Documents
            4                                  • False/Altered Data on Company Documents
            5                                  • False/Manipulated Reporting
                                               • Forgery
            6    Fraud                         • Alleged Embezzlement
                                               • Forgery
            7
                                               • Financial Fraud
            8                                  • Other
                                               • Potential Money Laundering
            9                                  • Recruitment Fraud
                                               • Visa/Immigration Fraud
          10
                 Gifts & Entertainment         • GIVING Gifts Entertainment Travel
          11                                   • RECEIVING Gifts Entertainment Travel
                                               • Involving Government Official
          12                                   • Other
          13     Harassment                    • Aggressiveness, Taunting, Undue Pressure
                                               • Hostile Work Environment
          14                                   • Other
                                               • Race, Age, Gender, Protected Category Harassment
          15                                   • Threats of Reducing YEA Rating, Moving to Different
          16                                     Role
                                               • Yelling, Intimidation, Inappropriate Communications
          17     HIPAA Compliance              NONE
          18

          19     HR-Compliance Americas,       •   Accommodation
                 Employee Relation Matters     •   Attendance Issues, Unauthorized Leaves, Job
          20                                       Abandonment
          21                                   •   AUP
                                               •   Benefits Issues
          22                                   •   Discipline Issues, PIP
                                               •   General Inquiry
          23                                   •   Insubordination
          24                                   •   Leave of Absence
                                               •   Other
          25                                   •   Payroll Issue
                                               •   Performance Related Issues, Unsatisfactory Work
          26
                                               •   Policy Interpretation
          27                                   •   Policy Review
                                               •   Relocation Issues
          28                                   •   Termination Review
                                                         10
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            1                                  •   YEA Rating, Performance Review Complaints
            2

            3    Immigration Concerns          • Alleged Immigration Law Violation, Concern
                                               • Green Card Promises
            4                                  • Misuse or Expired Visa/Work Permits
            5                                  • Potential Illegal Immigrants in Workforce
                                               • Visa/Immigration Fraud, False Documentation
            6    India-HR-Compliance MDPs,     • Accommodation
                 Employee Relation Matters     • Attendance Issues, Unauthorized Leaves, Job
            7
                                                 Abandonment
            8                                  • AUP
                                               • Benefits Issues
            9                                  • Discipline Issues, PIP
                                               • General Inquiry
          10
                                               • Insubordination
          11                                   • Leave of Absence
                                               • Other
          12                                   • Payroll Issue
          13                                   • Performance Related Issues, Unsatisfactory Work
                                               • Policy Interpretation
          14                                   • Policy Review
                                               • Relocation Issues
          15                                   • Termination Review
          16                                   • YEA Rating, Performance Review Complaints
                 Information Security          NONE
          17

          18     Intellectual Property         • Client Data
                                               • CTS Company Data
          19                                   • Other
          20     Other                         NONE

          21
                 Payroll Fraud                 •   Misreporting/Manipulation of Work Hours or
          22                                       Compensation
                                               •   TruTime Proxy Card Swipe
          23     Policy Violation              •   Other Policy
          24                                   •   Social Media Policy

          25     Protection & Proper Use of    •   Abusing Company Assets/Property
                 Company Assets (Misuse of     •   Using Company Resources for Personal Business or
          26     Resources/Property)               Benefit
                                               •   Vandalism of Property
          27

          28
                                                         11
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            1    Retaliation                   • Demotion or Blocked Advancement/Promotion
                                               • Discipline Issued
            2
                                               • General Mistreatment
            3                                  • Poor Performance Rating, YEA Review
                                               • Removed Benefits
            4                                  • Wrongful Termination
            5    Safety Concern                • Disrepair Walkways/Areas or Maintenance Needed
                                               • Poor Working Conditions, Equipment, Workplace
            6                                  • Safety Hazard/Violation
                                               • Weapons Possession in Workplace
            7    Sexual Harassment             • Offensive or Sexual Comments/Gestures, Threats of
            8                                    Sexual Harm
                                               • Physical Contact, Advances, or Sexual Assault
            9                                  • Sexual Favors in Exchange for Positive Employment
                                                 Changes
          10                                   • Staring, Leering, or Stalking
          11     Securities Violation          • Selling or Buying CTS Stock During Blackout
                                               • Alleged Insider Trading
          12                                   • Other Securities Violation
                 Theft                         NONE
          13

          14
                 Unfair Labor Practices        NONE
          15

          16     Unprofessional Behavior       • Disrespect or Humiliation
                                               • General Unprofessional Workplace Behavior
          17
                                               • Yelling or Cursing, Rude, Unprofessional Language
          18     Vendor Concerns               NONE

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            2    PROCESS UNITY
                 Classification            Category
            3    IT SECURITY               Data loss
            4    IT SECURITY               Data Leakage
                 IT SECURITY               Data Privacy
            5    IT SECURITY               Password Sharing
                 IT SECURITY               Code of ethics
            6
                 IT SECURITY               information security
            7    IT SECURITY               Confidential document loss/leakage
                 Harassment & Misconduct   Mangerial Harassment
            8
                 Harassment & Misconduct   Harassment
            9    Harassment & Misconduct   Sexual Harassment
                 Harassment & Misconduct   Co-worker harassment
          10
                 Harassment & Misconduct   Unethical behaviour
          11     Harassment & Misconduct   Environmental Concern
                 Harassment & Misconduct   Discrimination of color, caste, creed, Religion, & Language
          12     Harassment & Misconduct   Misconduct
          13     Fraud                     Falsification of documents
                 Fraud                     Falsification of Expense Bills
          14     Fraud                     Falsification of Accounting Records

          15     Fraud                     Falsification of LTA & Travel expense
                 Fraud                     Falsification of Medicals
          16     Fraud                     Financial Fraud
                 Fraud                     Accounting or Finacial Irregularity
          17
                 CODE OF ETHICS            Drugs and alcohol
          18     CODE OF ETHICS            Conflict of Interest
                 CODE OF ETHICS            Behavior Issue - Process Lapse
          19
                 CODE OF ETHICS            Safety Violations
          20     CODE OF ETHICS            Safety Concerns
                 CODE OF ETHICS            Process Lapse
          21
                 CORPORATE POLICY          Violation of Process Norms
          22     CORPORATE POLICY          Visa/Immigration issues
                 OH&S                      EHS
          23     CONFIDENTIALITY           Confidential information Policy
          24     CONFIDENTIALITY           Payroll
                 Legal Regularity          Bribery
          25     Legal Regularity          Violation of insider trading Policy
                 Employement               General
          26
                 Employement               Customer relations
          27     CORPORATE POLICY          Communication
                 Criminal                  General
          28
                                                            13
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